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(Rev. 8/82)

 

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In the Anited States District Court
Por the Southern District of Georgia

Wapcross Dibision
LEVI ARTHUR FEDD, *
oe
Plaintiff, * CIVIL ACTION NO.: 5:20-cv-128
*
v. *
*
JEFF COLEMAN, et al., *
Pa
Defendants. *

ORDER

This matter is before the Court on Plaintiff’s Objections
to the Magistrate Judge’s Report and Recommendation. Dkt. No.
10. In his April 5, 2021 Report and Recommendation, the
Magistrate Judge recommended the Court dismiss Plaintiff's
Complaint in its entirety because Plaintiff has three strikes
under 28 U.S.C. § 1915(g) and has not shown he is in imminent
danger. Dkt. No. 8. Plaintiff objects to that conclusion.
Dkt. No. 10.

As a preliminary matter, the Court notes Plaintiff’s
Objections are not timely. The deadline for Plaintiff to file

Objections was April 22, 2021. Plaintiff appears to have signed

 
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his Objections on April 25, 2021.1 Dkt. No. 10 at 21. Even
considering Plaintiff's Objections, he has not alleged any
imminent danger to avoid the three-strikes bar.

The Court construes Plaintiff's Objections as stating he is
in imminent danger because (1) he suffered from a sexual assault
and battery by another inmate, and (2) he suffers from medical
conditions prison officials have left untreated. Plaintiff also
presents numerous other legal arguments which are irrelevant to
the § 1915(g) issues now before the Court.

Plaintiff's allegations regarding a sexual assault and
battery do not show an imminent danger. Plaintiff states he has
suffered numerous injuries from the attack and had surgery on
his shoulder. Id. at 3-4. However, Plaintiff fails to explain
how this attack shows a present danger as opposed to a past
danger. Brown v. Johnson, 387 F.3d 1344, 1349 (llth Cir. 2004}
(*“[A] prisoner must allege a present imminent danger, as opposed
to a past danger, to proceed under section 1915(g) ... .").
Plaintiff has simply not presented sufficient factual
allegations regarding this incident for the Court to determine

Plaintiff suffers from a present danger.

 

i Plaintiff's signature is dated "5-25-21." Dkt. No. 10 at 21.
However, the Court assumes Plaintiff intended to sign April 25, 2021,
because Plaintiff's envelope is postmarked April 26, 2021. Because
the Court received Plaintiff's Objections on April 29, 2021, Plaintiff
could not have actually signed the document on May 25, 2021.

 
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Plaintiff’s allegations regarding his medical conditions
are also insufficient to overcome the three-strikes bar.
Plaintiff states he suffers from stomach issues, diabetes, and
mental health problems, for example. Dkt. No. 10 at 9-10.
Plaintiff fails to explain how these medical conditions are a
result of the due process claim alleged in his Complaint.

Dkt. No. 1. Additionally, Plaintiff has not presented factual
allegations which would tend to show these conditions are
sufficiently serious to present a risk of serious physical
injury.

At numerous points in his Objections, Plaintiff asserts
this is an emergency and he qualifies for the imminent danger
exception. However, general and conclusory allegations not
grounded in specific facts are insufficient to invoke the

§ 1915(g) exception. See, e.g., Margiotti v. Nichols, No.

 

CV306-113, 2006 WL 1174350, at *2 (N.D. Fla. May 2, 2006).
Looking at Plaintiff’s Complaint as a whole, and the allegations
made in his Objections, Plaintiff has not stated adequate
factual allegations to meet the imminent danger exception under
§ 1915(g).

After an independent and de novo review of the entire
record, the Court CONCURS with the Magistrate Judge’s Report and
Recommendation, ADOPTS the Report and Recommendation as the

opinion of the Court, and OVERRULES Plaintiff's Objections. The

 
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Court DISMISSES without prejudice Plaintiff’s Complaint. The

Court DIRECTS the Clerk of Court to CLOSE this case and enter

the appropriate judgment of dismissal and DENIES Plaintiff leave

to proceed in forma pauperis on appeal. The Court further

DENIES as moot Plaintiff's Motion for a Preliminary Injunction.

Dkt. No. 2.

SO ORDERED, this

  

ft

f Lobos , 2021.

  

 

HON. LISA GODBEY WOOD, JUDGE
U ITED/STATES DISTRICT COURT
SO ERN DISTRICT OF GEORGIA

 
